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 7
                              IN THE UNITED STATES DISTRICT COURT
 8
                                    FOR THE TERRITORY OF GUAM
 9
      UNITED STATES OF AMERICA,                              CRIMINAL CASE NO. 15-00041-001
10
                             Plaintiff,
11                                                           UNITED STATES’ MOTION TO
                             vs.                             DISMISS SUPERSEDING
12                                                           INDICTMENT
      JUSTIN ROBERT WHITE CRUZ,
13
                             Defendant.
14
            Pursuant to Rule 48(a) of the Federal Rules of Criminal Procedure, Plaintiff United States
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     of America, by and through its undersigned counsel, hereby moves to dismiss, without prejudice,
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     the Superseding Indictment (ECF No. 60) in the above captioned case.
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            “Under Rule 48, courts must grant leave to the government to dismiss an indictment,
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     information, or complaint unless dismissal is ‘clearly contrary to manifest public interest.’” In re
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     Ellis, 356 F.3d 1198, 1209 (9th Cir. 2004)(en banc) (quoting Rinaldi v. United States, 434 U.S.
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     22, 30 (1977)).
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            “The decision to dismiss an indictment implicates concerns that the Executive is uniquely
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     suited to evaluate, and a district court should be reluctant to deny its request.” Ellis, 356 F.3d at
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     1210. Additionally, “[c]ourts do not know which charges are best initiated at which time, which
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 1   allocation of prosecutorial resources is most efficient, or the relative strengths of various cases

 2   and charges.” Id.

 3          The United States has determined that given the Ninth Circuit Court of Appeals

 4   Memorandum of Decision (ECF No. 269), and a review of the current case investigation, there is

 5   presently insufficient admissible evidence to proceed. Thus, dismissal of the Indictment is

 6   appropriate and not “clearly contrary to manifest public interest.” Rinaldi v. United States, 434

 7   U.S. 22 (1977).

 8          The United States respectfully seeks leave of the Court to dismiss the Indictment in this

 9   case without prejudice.

10              RESPECTFULLY SUBMITTED this 25th day of April, 2019.

11                                                                 SHAWN N. ANDERSON
                                                                   United States Attorney
12                                                                 Districts of Guam and the NMI

13                                                          By:      /s/ Belinda Alcantara___
                                                                   BELINDA ALCANTARA
14                                                                 Assistant U.S. Attorney

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